Case 5:19-cv-02456-FMO-SP Document 41 Filed 04/13/20 Page 1 of 3 Page ID #:450



   1   William Litvak (SBN 90533)
       DAPEER ROSENBLIT LITVAK, LLP
   2   11500 W. Olympic Blvd. Suite 550
       Los Angeles, California 90064
   3   Tel: (310) 477-5575
       Fax: (310) 477-7090
   4   Email: WLitvak@drllaw.com

   5   Ignacio P. Hiraldo (pro hac vice)
       IJH LAW
   6   1200 Brickwell Avenue, Suite 1950
       Miami, Florida 33131
   7   Tel: (786) 496-4469
       Email: ijhiraldo@ijhlaw.com
   8
       Andrew Shamis, Esq. (pro hac vice)
   9   SHAMIS & GENTILE, P.A.
       14 NE 1st Avenue, Suite 1205
  10   Miami, Florida 33132
       Telephone: 305-479-2299
  11   Email: gberg@shamisgentile.com

  12   Manuel S Hiraldo (pro hac vice)
       HIRALDO PA
  13   401 East Las Olas Boulevard Suite 1400
       Fort Lauderdale, FL 33301
  14   954-400-4713
       Email: mhiraldo@hiraldolaw.com
  15
       Scott A Edelsberg (pro hac vice)
  16   EDELSBERG LAW PA
       20900 NE 30th Avenue Suite 417
  17   Aventura, FL 33180
       305-975-3320
  18   Email: scott@edelsberglaw.com

  19   Michael L Eisenband (pro hac vice)
       EISENBAND LAW PA
  20   515 East Las Olas Boulevard Suite 120
       Fort Lauderdale, FL 33301
  21   954-533-4092
       Email: meisenband@eisenbandlaw.com
  22
       Attorneys for Plaintiff Jamal Johnson
  23

  24

  25

  26

  27

  28
                                Notice of Mediator Selection and Mediation
Case 5:19-cv-02456-FMO-SP Document 41 Filed 04/13/20 Page 2 of 3 Page ID #:451



   1                       UNITED STATES DISTRICT COURT
   2                      CENTRAL DISTRICT OF CALIFORNIA

   3 JAMAL JOHNSON, individually and Case No. 5:19-cv-02456
     on behalf of all others similarly
   4 situated,                         NOTICE OF MEDIATOR
                                       SELECTION AND MEDIATION ON
   5        Plaintiff,                 APRIL 30, 2020
   6   vs.
   7   MOSS BROS. AUTO GROUP, INC.,
   8         Defendant.
   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                            Notice of Mediator Selection and Mediation
Case 5:19-cv-02456-FMO-SP Document 41 Filed 04/13/20 Page 3 of 3 Page ID #:452



   1
             Plaintiff Jamal Johnson hereby notifies the Court that the parties have selected Ted
   2
       Bandstra of JAMS Mediation as the mediator in this matter. Plaintiff further notifies the
   3

   4   Court that the parties have scheduled mediation for Thursday, April 30, 2020 at 11:00
   5
       a.m. (EST) via Zoom videoconferencing.
   6

   7   Respectfully submitted:
   8   DATED: April 13, 2020
   9                                                   EISENBAND LAW, P.A.
  10
                                                By:      /s/Michael Eisenband
  11
                                                Michael L Eisenband (pro hac vice)
  12                                            515 East Las Olas Boulevard Suite 120
                                                Fort Lauderdale, FL 33301
  13                                            954-533-4092
                                                Email: meisenband@eisenbandlaw.com
  14

  15                                                   Attorneys for Plaintiff
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                               Notice of Mediator Selection and Mediation
